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                                                April 12, 2024

By ECF
The Honorable Joanna Seybert
United States District Judge
Eastern District of New York
610 Federal Plaza
Central Islip, New York 11722


                          Re:      US v. George Anthony Devolder Santos, 23-cr-197 (JS)
                                   Reply Letter In Support of Defendant’s Request For
                                   A Jury Questionnaire


Dear Judge Seybert:

         We respectfully submit this letter in reply to the government’s responsive letter dated
August 9, 2024 (“Response”), opposing defense counsel’s request for a juror questionnaire. The
government argues that a jury questionnaire should not be provided because (1) it is “unfeasible
at this juncture”; (2) the “anticipated media attention does not warrant a questionnaire”; and (3)
“a questionnaire will not provide a better or more efficient voir dire”. ECF 96. We respectfully
submit that the government is incorrect on all three grounds.1

       Preliminarily, contrary to the government’s argument, Santos has absolutely no interest in
“bogging down” the trial or delaying it. Resp. at 5. His sole interest is in securing a fair and
impartial jury, to the extent that is possible in light of the negative media coverage.




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  The government’s opposition to Santos’ request for a jury questionnaire on the grounds of untimeliness and their
claim that Santos has somehow brought the negative publicity on himself, appears to be entirely pretextual. Their
stance appears to stem not from legitimate procedural concerns, but from a desire to capitalize on the
overwhelmingly negative media coverage of Santos. By advocating for a quicker jury selection process with less in-
depth questioning, the government seems to be strategically maneuvering to seat jurors who may have been unduly
influenced by this biased negative media narrative. Accordingly, we urge the Court to view the government’s
arguments carefully, as common sense indicates that their position is less about procedural efficiency and more
about gaining a tactical advantage at the expense of constitutional safeguards.
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I.     The Request is Timely and Feasible

        The government’s claim that Santos’ request is “unfeasible at this late juncture” is
without merit and ignores the flexibility inherent in court procedures, especially when it comes
to safeguarding a defendant’s constitutional rights.

        First, the Court could employ two different methods for implementing the requested
questionnaire, both of which are feasible. Under one method, the Court could mail the
questionnaires to the jurors and have them mail them back no later than August 30, 2024. Once
the Court receives them they can be scanned and emailed to the parties to confer regarding
challenges “for cause.” Jurors that both parties agree to strike can be informed that they need not
return to Court, the remainder may return on September 9th for in-person voir dire.

         Alternatively, the Court could have all the potential jurors appear on September 9th to
complete the juror questionnaire at the Courthouse and then be instructed to return on
Wednesday morning unless told otherwise by the Court. On Tuesday, counsel would confer
regarding agreed upon jurors to strike and the remainder would return on Wednesday, September
11th, to start voir dire. The defense anticipates that if either of these methods are employed a
jury could be selected before the end of the week.

        We respectfully submit that both proposed methods would streamline jury selection.
However, the alternative approach would require the Court to individually question all potential
jurors in chambers to avoid “taint”, significantly prolonging the process. See Jeffrey T.
Frederick, Mastering Voir Dire and Jury Selection, at 200 (4th ed. 2018) (internal citations
omitted) (“In questioning jurors regarding pretrial publicity, it is important to develop methods
for questioning that will not “taint” the other jurors. Appropriate methods are questioning jurors
exposed to pretrial publicity on an individual basis in the judge’s chambers or in open court, with
all other jurors sequestered. However, the practice of questioning all “exposed” jurors at one
time (with unexposed jurors absent) risks tainting exposed but otherwise acceptable jurors”).
Our suggested questionnaire method allows the parties to agree on eliminating unsuitable
candidates upfront, saving considerable time and resources.

         Second, the government’s claim of untimeliness is not persuasive. There is no rule or
deadline in the Federal Rules of Criminal Procedure, or in this Court’s local rules, that prescribes
a specific time by which a request for a juror questionnaire must be made. Our request was
made on August 6, 2024, a little more than a month prior to the scheduled trial date. We submit
that this allows for sufficient time to implement a questionnaire.

        In addition, courts routinely demonstrate flexibility in accommodating important trial
measures, even on the eve of trial, and enjoy broad discretion in doing so. The suggestion that
the summoning of jurors for September 9th somehow precludes the use of a questionnaire is
shortsighted. This Court has ample discretion to adjust its procedures to ensure a fair trial,
including, as discussed above, potentially mailing the questionnaires, having jurors arrive on
September 9th to complete the questionnaire and allowing for the parties to review those on
September 19th, or adjusting the trial schedule as needed. See Local R. Crim. P. 23.1(h).



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        The government’s concerns about witness scheduling and resource allocation, while
noted, pale in comparison to the fundamental necessity of ensuring a fair trial. If a brief delay is
required to properly screen the jury pool, it is a small price to pay to safeguard the integrity of
these proceedings. However, again, counsel is not suggesting that any such delay would be
required.

        To be clear, we do not propose the questionnaire as a replacement for oral voir dire, but
as a complement to it. The questionnaire will provide a foundation for more targeted and
efficient in-person questioning, and it will allow the Court to delve deeper into areas of concern
identified in the written responses.

II.    Media Attention Warrants Extra Precaution, Regardless of Source

       The government’s argument that Santos’ request for a questionnaire is somehow
“improp[er]” because Santos was responsible for generating some of the media coverage is a
complete non-sequitur. Resp. at 3. First and foremost, the origin of the media attention—
whether it stems from Santos’ own efforts, the government’s actions, or Santos’ former position
as a member of Congress—is immaterial. The paramount objective of jury selection is to ensure
an impartial jury, regardless of the source or extent of pre-trial publicity. We strongly believe a
questionnaire will serve as a much more reliable detector of bias in this case because of the
amount of negative press this case has garnered.

         The government’s implication that permitting a questionnaire would “reward” Santos for
his media presence reveals a troubling perspective on the fundamental right to a fair trial. Is the
government suggesting that Santos’ media engagement somehow forfeits his right to an impartial
jury? That is simply not the law, for even assuming Santos had been partially responsible for
some of the media attention, the right to an impartial jury is not contingent on a defendant’s
behavior. See Sheppard v. Maxwell, 384 U.S. 333, 362 (1966) (Supreme Court held that, despite
defendant’s own involvement in causing pretrial publicity, the trial court did not take proper
precautions to protect his due process, stating “[d]ue process requires that the accused receive a
trial by an impartial jury free from outside influences. Given the pervasiveness of modern
communications and the difficulty of effacing prejudicial publicity from the minds of the jurors,
the trial courts must take strong measures to ensure that the balance is never weighed against the
accused.”). This Court’s duty is to ensure a fair trial, not to punish or reward a defendant for
their out-of-court conduct or media coverage.

        Second, the government’s claim that Santos is primarily responsible for the media
attention surrounding this case is misguided. Contrary to the government’s assertions, Santos is
not the cause of the vast majority of the media attention. Rather, the media’s focus on Santos is
a byproduct of the current polarized political climate, Santos’ unique meteoric rise into politics
and election into Congress, and the nature of the allegations against him. To the extent that
Santos has participated in any way, it was to defend himself against the overwhelming negative
press. His appearances were not motivated by a desire for publicity, let alone negative publicity.
We submit that this does not equate to courting controversy or seeking undue attention.




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III.     A Questionnaire Is Necessary To Secure Any Impartial Jury

        Contrary to the government’s belief that “there is no basis here to conclude that a
customary voir dire process will fail to properly screen for pretrial bias” (Resp. at 5), the
heightened difficulty in securing a fair and impartial jury in a case with extensive pretrial
publicity is well documented:

                  Jurors tend to minimize or downplay their exposure, awareness of
                  relevant information, and opinions arising from pretrial publicity.
                  Some jurors are defensive about their ability to recall information
                  encountered in the media or through discussions with their friends
                  and acquaintances. Other jurors may feel, as a result of questioning
                  by the judge or the parties, that they should not have read,
                  watched, or listened to the media coverage of events. Many jurors
                  formed opinions at the time they were exposed to the media
                  coverage but feel that, as jurors, they “are not supposed to have
                  any opinions.” All of these factors contribute to jurors’ lack of
                  candor about their exposure to pretrial publicity and the opinions
                  formed as a result.

Jeffrey T. Frederick, Mastering Voir Dire and Jury Selection, at 189 (4th ed. 2018) (internal
citations omitted). Accordingly, it is absolutely crucial for the parties and the Court to secure
thorough and candid information about each juror in a case such as this where nearly every
prospective juror has likely heard about the allegations and formed opinions concerning Santos
and the merits of this case.

        “One tool for increasing juror self disclosure and candor is the use of juror
questionnaires. Written questionnaires, including electronically administered questionnaires,
have been shown to increase disclosure in [..] jury selection.” Id. at 201 (emphasis added)
(citing Susan A. Jones, Judge-versus Attorney-Conducted Voir Dire: An Empirical Investigation
of Juror Candor, 11 LAW & HUM. BEHAV. 131 (1987), and David Flores, Methods of
Expanded Voir Dire and Written Questionnaires: Experimental Results on Juror Self-Disclosure
and Implications for Trial Practice, CT. CALL 1 (Summer 2011); see also Lin S. Lilley,
Techniques for Targeting Juror Bias, 32 TRIAL 74 (1994), citing U.S. District Judge Richard
Bilby’s comments that he found that one in three potential jurors would admit knowing someone
who had been sexually abused on a supplemental juror questionnaire, while only one in ten
would do so during voir dire in open court)). The government’s insistence on the superiority of
in-person questioning ignores well-established social science research and the practical realities
of jury selection in high-profile cases.2 Research has consistently shown that individuals are
more likely to give socially desirable responses in face-to-face settings, particularly when
discussing sensitive topics. A written questionnaire mitigates this bias, allowing for more honest
responses.

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  “There are a number of potential benefits to using supplemental juror questionnaires, including (1) increased juror
disclosure; (2) development of more effective follow-up questions; (3) ability to prescreen jurors; (4) minimizing
infection of the panel; (5) availability of greater total information; and (6) promotion of a faster jury selection.” Id.
at 208.


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        Not only do questionnaires tend to elicit more honest responses, they also lead to more
comprehensive and thoughtful responses because they allow time for the jurors to reflect on their
answers. See id. (“The use of written questionnaires provides jurors with a greater sense of
privacy and comfort than does answering questions in open court, in front of their fellow jurors
and, often, the press. As a result, jurors are likely to be more candid in their answers to questions
in supplemental juror questionnaires than to questions posed in open court, particularly when
faced with group questioning. This factor is important when considering potentially sensitive
topics [...]”) Id. (internal citations omitted)

        Here, use of written questionnaires is particularly crucial because political affiliations and
opinions, especially those influenced by our polarized media, may influence juror impartiality.
Politics is a highly sensitive subject, especially leading up to this unprecedented election, and it
is not difficult to imagine that prospective jurors might be reluctant to discuss their go-to sources
for political information, their political affiliations, and their pre-formed opinions of Santos and
this case in open court.

        In addition the government’s attempt to equate this case with other “high-profile” trials
where questionnaires were not used overlooks unique aspects of Santos’ situation. For example,
in United States v. Hadden, the court’s primary concern was the jurors’ unwillingness to disclose
answers related to sexual assault in the proposed questionnaire, a situation distinctly different
from the concern of the national media attention garnered by Santos. Hadden, No. 20-CR-468
(RMB) (S.D.N.Y. Jan. 20, 2022) (ECF No. 151 at 1). Additionally, Santos’ personal notoriety
far exceeds that of other nationally covered cases cited by the government, such as United States
v. Ray, where the pretrial publicity focused more on the story behind the indictment than on the
defendant’s personally. Ray, No. 20-CR-110 (LJL) (S.D.N.Y. Jan. 6, 2022) (ECF No. 290 at 4).
Similarly, while United States v. Parnas involved national media attention, it primarily
concerned the defendant’s association with Rudy Giuliani rather than his personal life, beliefs,
and history, which are central to the media coverage of Santos in this case. Parnas, No. 19-CR-
725 (JPO) (S.D.N.Y. Oct. 5, 2021) (ECF No. 275 at 13). In United States v. Doud, pre-trial
publicity was not of major concern, which sharply contrasts with the pretrial publicity in this
case. Doud, No. 19-CR-285 (GBD) (S.D.N.Y. Jan. 10, 2022) (ECF No. 134 at 86).

        The government’s comparison to figures like Senator Menendez or Martin Shkreli is also
inapt. Menendez had established public personas over many years.3 In contrast, Santos went
from relative obscurity to the center of a national media firestorm in a matter of months. This
rapid and intense focus creates a distinct risk of juror bias that requires careful management.
Shkreli’s case was highly distinct because his notoriety stemmed from his role in the
pharmaceutical industry and his controversial business practices rather than from any
involvement in government or political affairs like Santos. Comparisons to Malcolm Smith, a
former New York State Senator, also fail. While he was a prominent figure in New York State
politics, his recognition was more localized, drawing less national media attention, whereas
Santos has achieved widespread national notoriety due to the unprecedented nature of his
controversies.


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    In addition, Menendez may appeal based on the district court’s denial of his request for a jury questionnaire.


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       We submit that the unique circumstances of this case - including the nature of the
charges, the intensity and rapidity of media coverage, and the political context - set it apart from
the government’s cited examples.

IV.    Conclusion

       The government’s arguments against the use of a questionnaire are based on
mischaracterizations of Santos’ relationship with the media and fail to account for the unique
challenges presented by this case. The extensive media coverage, largely beyond Santos’ control
and often unrelated to the charges at hand, creates a distinct risk of juror bias. A well-designed
questionnaire, used in conjunction with oral voir dire, will enhance the jury selection process and
help ensure Santos receives a fair trial before an impartial jury.

        For these reasons, we respectfully request that the Court grant our motion for the use of a
juror questionnaire.


                                                              Sincerely,

                                                              /s/ Andrew Mancilla
                                                              Andrew Mancilla, Esq.
                                                              Joseph Murray, Esq.
                                                              Robert Fantone, Esq.




cc:    VIA ECF
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